
IN RE: Tyler, Floyd; Braud, Ronald;— Plaihtiffis); Applying for Supervisory and/or Remedial Writ; Parish of Orleans Criminal District Court Div. “C” Number 268-294, 268-298
Relator represents that the district court has failed to act timely on an application for post conviction relief he filed on or about March 10, 1998, and supplemented on or about December 4, 1998. If relator’s representation is correct, the district court is ordered to consider and act on the application. If relator’s representation is incorrect, the district court is ordered to accept, file, and act upon the pleading which is herewith transferred to the district court. *1134The district court is ordered to provide this Court with a copy of its judgment.
MARCUS, J., not on panel.
